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                 EXHIBIT A
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   WWE Hits Kyros With $357,000 Bill & WWE Lawyer
   Jerry McDevitt Reveals He is Avid Reader of This
   Blog!!
   October 5, 2018 by Konstantine Kyros Leave a Comment




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   Today WWE Defense counsel Mr. Jerry McDevitt sent Mr. Kyros a bill ( an
   application to the court to award this amount) for a portion WWE’s legal fees totaling
   a cool $357,000+ and change, along with a document that attempts to describe the
   contents of this very important blog, and criticizes Kyros’ comments to the press, see
   the WWE economic attack on Kyros here: K&L Gates Bill 1, Day Pitney Bill-2 and
   Accusations about this blog and fee request here.


   Kyros Law Offices Official Statement on this latest WWE activity:


   “In seeking over $357,000 for my advocacy on behalf of professional wrestlers, the
   WWE deploys economic warfare as a tactic to silence anyone who dares to speak for
   them, fight for their rights and be a voice for CTE awareness in professional
   wrestlers. I will continue to stand for the rights of professional wrestlers injured and
   exploited by WWE’s outrageous misconduct. The case is about them, their rights,
   their plight and not about me as their voice and advocate.


   With respect to the Court’s ruling, I have strongly voiced my disagreement on behalf
   of my clients. I express my opinion that the court in its ruling dismissing the claims of
   these women and men ignored the wrestlers’ legal rights to a safe workplace. The
   court ignored the wrestlers’ rights to be treated under the law as employees. The
   court ignored the claims of families of some of the most famous athletes ever
   diagnosed with CTE including Mr. Fuji and Jimmy Snuka. The court ignored the fact
   that WWE actions and inactions have led to a tragic epidemic of suicides, drug and
   alcohol addiction, overdoses and total health crisis that has engulfed the wrestling
   community.


   I encourage anyone interested in the plight of the wrestlers to actually read the
   wrestlers dismissed lawsuit to judge for themselves if it is frivolous or fails to make
   proper legal and factual arguments about fraudulent nondisclosure, medical
   monitoring and tolling the SOL. Regarding the Court’s order that the public needs
   protection from my advocacy, it is my opinion that it is in fact, the professional
   wrestlers I represent who need protection from WWE’s exploitation and legacy of
   neglecting their legal duties.




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    Substantially similar claims have been invoked and pled in the NFL, NHL and NCAA
    cases, in my opinion a major difference being that the wrestlers’ claims are factually
    and legally far stronger. The wrestlers under the current ruling have no rights to even
    the basic protections of labor law. The wrestlers assert facts in their 64 affidavits and
    pleadings that should bring investigation, legal reform, and Congressional Oversight
    to the WWE’s illicit practices. The wrestlers want a day in court and Trial by Jury.


    I have great respect for the process, and I learned a great deal from the Judge and
    have endeavored to follow all of the courts rules and orders. I have even learned
    from the fanaticism, belligerence and sharp practice of defense counsel Mr.
    McDevitt, who seems to believe calling me dishonest enough times will make it true.
    My candid criticism of the ruling against my clients is a voice for the Justice of their
    cause. As I have stated the wrestlers will Appeal this tragic ruling that ignores their
    legal rights, voices and hopes. The WWE will be defeated with Truth and Justice.”


    Sincerely,
    Konstantine Kyros

    Posted in: WWE Concussion Lawsuit




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